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Ammar Dadabhoy
Wong Fleming
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Sugar Land, TX 77478
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ATTORNEYS FOR CREDITOR BMO HARRIS BANK N.A.

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             WICHITA FALLS DIVISION

In Re:                                          §
     LARRY CLAPP                                §            Case No. 19-70140
                                                §            Chapter 7
                                                §
                                                §
                                                §
                                                §
                                                §
                                                §

         BMO HARRIS BANK N.A.’S NOTICE OF WITHDRAWAL OF CLAIM



       BMO Harris Bank N.A. (“Creditor”), a creditor in the captioned proceeding, files this

Notice of Withdrawal of Claim. This claim has been satisfied and BMO Harris Bank N.A. is no

longer a creditor in the above captioned proceeding.


                                            Respectfully submitted,


                                            WONG FLEMING

                                            By: _/s/ Ammar Dadabhoy/s/
                                                 Tariq A. Zafar
                                                 Texas Bar No. 24038048
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                                                    Sugar Land, Texas 77478
                                                    Tel. (281) 340-2074
                                                    Fax. (866) 240-0629
                                                    Attorneys for Creditor
 Date: August 28, 2019                              BMO Harris Bank N.A.



                                 CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served on all interested parties as listed below by
depositing same in the U.S. Mail, postage prepaid, and/or by electronic mail on February 7,
2019.

Monte J. White
Monte J. White & Associates, P.C.             via email at legal@montejwhite.com
1106 Brook Avenue
Hamilton Place
Wichita Falls, TX 76301

U.S. Trustee                                   via regular mail
1100 Commerce Street
Room 976
Dallas, TX


Trustee
Robert B. Wilson                              via regular mail
1407 Buddy Holly Ave
Lubbock, TX 79401
(806) 748-1980

All other parties requesting notice via ECF

                                              /s/ Ammar Dadabhoy
                                                Ammar Dadabhoy




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